         Case 1:19-cr-00227-JLS-MJR Document 225 Filed 12/13/21 Page 1 of 9




IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA

               v.                                                  19-CR-227-JLS

PETER GERACE JR., and
JOSEPH BONGIOVANNI,

                             Defendants.



        GOVERNMENT’S RESPONSE IN OPPOSITION TO DEFENDANT'S
    MOTION FOR ADOPTION OF A SEARCH WARRANT APPLICATION ORDER
     SIMILAR TO UNITED STATES V. HAWIT, 2017 WL 3016794 (E.D.N.Y. 2017)


         The defendant, PETER GERACE JR., through his attorney, Joseph M. LaTona, Esq.,

has filed a motion seeking adoption of a search warrant disclosure order similar to that issued

by the Court in United States v. Hawit, 2017 WL 3016794 (E.D.N.Y. 2017). (See Docket

210). 1 Although the defendant’s motion is not styled as such, it is a motion for reconsideration

of this Court’s November 1, 2021, Decision and Order denying defendants’ motions for

disclosure, clarification, and reconsideration (See Dockets 113, 122, 150, and 151). The

UNITED STATES OF AMERICA, by and through its attorney, Trini E. Ross, United States

Attorney for the Western District of New York, Joseph M. Tripi, Assistant United States

Attorney, of counsel, hereby files the government=s response in opposition to the defendant=s

motion for reconsideration based upon United States v. Hawit, 2017 WL 3016794 (E.D.N.Y.

2017).


1
 Defendant Joseph Bongiovanni has joined in defendant Gerace’s motion without additional
argument or analysis, and this response is intended to apply to both defendants’ filings in
Dockets 210 and 212.
         Case 1:19-cr-00227-JLS-MJR Document 225 Filed 12/13/21 Page 2 of 9




                                 PROCEDURAL HISTORY

         As pertinent to this response, on April 28, 2021, defendant Gerace filed a motion to

unseal and for disclosure of search warrant application materials for all search warrants

related to Pharaoh’s, 5154 Lexor Lane, and an Apple iPhone (see Docket 113). On June 2,

2021, the government filed its response (see Docket 123). As set forth in Docket 123, the

government agreed to provide to the defense a redacted search warrant affidavit [21-mj-22]

regarding the search of the Apple iPhone cell phone because, “[U]pon further review, the

affidavit and attachments in support of 21-mj-22 consist of approximately twenty (20) pages

of material, and the information contained therein is more limited than the applications,

affidavits, and attachments in 19-M-5303 and 21-MJ-5102, as described above. As a result,

the government believes a redacted copy of the application, affidavit, and attachments in

support of 21-mj-22 can be provided to the defense in a manner that sufficiently mitigates the

concerns which warrant the continued sealing of the applications, affidavits, and attachments

in 19-M-5303 and 21-MJ-5102.” (See Docket 123 at 4.)



         On June 29, 2021, the Court heard oral argument and denied the defendants’ motion

to unseal and/or to disclose the search warrants [19-M-5303 and 21-MJ-5102]. 2 Following

argument, Magistrate Judge Roemer denied the motions to unseal and on that same date the

government provided Gerace with a redacted search warrant application related to an Apple

iPhone that was seized. (See Dockets 138 (text order), 139 (transcript)).




2
    These are the search warrants related to Pharaoh’s and 5154 Lexor Lane.



                                               2
      Case 1:19-cr-00227-JLS-MJR Document 225 Filed 12/13/21 Page 3 of 9




       On July 13, 2021, the defendant moved Magistrate Judge Roemer to reconsider his

Decision and Order ordering continued sealing of the search warrant applications [19-M-

5303, 21-MJ-5102, and 21-mj-22] based upon the conclusory, unsupported, and unwarranted

claim that “the affiant on all of the pertinent search warrant applications is inherently

untrustworthy.”    (See Docket 151 at 4.) The government opposed the motion for

reconsideration (see Docket 169), and the defendant replied (see Docket 171). Magistrate

Judge Roemer denied the motion for reconsideration via text order on August 6, 2021. (See

Docket 174.)



       On July 13, 2021, defendant Gerace objected to Magistrate Judge Roemer’s denial of

the motion to unseal the search warrant application/affidavits (see Docket 152), and also filed

objections on August 19, 2021, to Magistrate Judge Roemer’s denial of the motion for

reconsideration (see Docket 179). On September 13, 2021, the government responded (see

Docket 194), and on September 20, 2021, defendant Gerace replied (see Docket 195).



       On November 1, 2021, this Court issued a Decision and Order denying defendant

Gerace and Bongiovanni’s motions for disclosure of the search warrant affidavits, for

clarification, and for reconsideration. (See Docket 208.)



       On November 5, 2021, defendant Gerace filed a motion (see Docket 210), which was

joined by co-defendant Bongiovanni (see Docket 212), requesting this Court to adopt a search

warrant disclosure order similar to that issued by the Court in United States v. Hawit, 2017

WL 3016794 (E.D.N.Y. 2017). Although not styled as such, the defendants’ motions (see




                                              3
      Case 1:19-cr-00227-JLS-MJR Document 225 Filed 12/13/21 Page 4 of 9




Dockets 210 and 212) are for reconsideration of this Court’s November 1, 2021, Decision and

Order, and the motions should be denied.



                                 THE GOVERNING LAW

       The standard for granting a motion for reconsideration is strict, and reconsideration

will generally be denied unless the moving party can point to controlling decisions or data

that the court overlooked—matters, in other words, that might reasonably be expected to alter

the conclusion reached by the court. Shrader v. CSX Transp., Inc., 70 F.3d 255, 257 (2d Cir.

1995). A motion for reconsideration may not be used to advance new facts, issues, or

arguments not previously presented to the Court, nor may it be used as a vehicle for

relitigating issues already decided by the Court. See Davidson v. Scully, 172 F. Supp. 2d 458,

461–62 (S.D.N.Y. 2001) (citing Shrader v. CSX Transp., Inc., 70 F.3d 255, 257 (2d Cir.1995)).

A party seeking reconsideration “is not supposed to treat the court's initial decision as the

opening of a dialogue in which that party may then use such a motion to advance new theories

or adduce new evidence in response to the court's rulings.” Id. (quoting Polsby v. St. Martin's

Press, Inc., No. 97 Civ. 690, 2000 WL 98057, at *1 (S.D.N.Y. Jan 18, 2000) (Mukasey, J.)).

Thus, a motion for reconsideration “is not a substitute for appeal and ‘may be granted only

where the Court has overlooked matters or controlling decisions which might have materially

influenced the earlier decision.’ ” Id. (quoting Morales v. Quintiles Transnational Corp., 25

F.Supp.2d 369, 372 (S.D.N.Y.1998) (citations omitted)).




                                              4
      Case 1:19-cr-00227-JLS-MJR Document 225 Filed 12/13/21 Page 5 of 9




                                       ARGUMENT

I.     The Defendant has not met the Standard for a Motion for Reconsideration.

       The defendant’s motion for reconsideration fails to identify controlling decisions or

data that the court overlooked—matters, in other words, that might reasonably be expected

to alter the conclusion reached by the court. Shrader v. CSX Transp., Inc., 70 F.3d 255, 257

(2d Cir. 1995). In citing to United States v. Hawit, 2017 WL 3016794 (E.D.N.Y. 2017), the

defendant noted that citation to the Hawit decision appeared twice in this Court’s November

1, 2021, Decision and Order. Of course, by citing to the Hawit decision twice, this Court was

aware of and did not overlook it. Nevertheless, Hawit is not “controlling authority” binding

upon this Court and the defendant’s motion for reconsideration must be denied.           See

Davidson v. Scully, 172 F. Supp. 2d 458, 461–62 (S.D.N.Y. 2001) (a motion for

reconsideration may not be used to advance new facts, issues or arguments not previously

presented to the Court).



       This Court’s Decision and Order was clear and unequivocal, and was based in part

upon this Court’s personal review of the search warrants at issue:




                                              5
     Case 1:19-cr-00227-JLS-MJR Document 225 Filed 12/13/21 Page 6 of 9




(See Docket 208 at 9.)



                                    ***




                                     6
      Case 1:19-cr-00227-JLS-MJR Document 225 Filed 12/13/21 Page 7 of 9




(Id. at 11-12.)



                                      7
      Case 1:19-cr-00227-JLS-MJR Document 225 Filed 12/13/21 Page 8 of 9




       Indeed, this Court has determined that the government’s interests in protecting its

ongoing investigation is compelling, and that the defendant has failed to establish materiality

under Rule 16 or under Franks v. Delaware, 438 U.S. 154 (1978).                Accordingly, the

defendant’s motion for reconsideration based upon Hawit decision should be denied. This

Court simply did not overlook controlling decisions or data in rendering its Decision and

Order on November 1, 2021 (see Docket 208).



II.    The Hawit Decision is Distinguishable for the Proposition in which the Defendant
       has Cited it.

       While the defendant urges the Court to set a disclosure deadline similar to that in the

Hawit case, that decision is of little persuasive value for the proposition in which the

defendant has cited it, that is, for a disclosure deadline for the search warrant affidavits.



       First, unlike in Hawit, as set forth above, this Court has already determined that the

defendants failed to establish materiality under Rule 16 and/or under Franks for disclosure

of the affidavits. Second, the Hawit case was one in which the government sought the

disclosure order, thereby perhaps implicitly conceding that there was information material to

the defense in the affidavits at issue. Here, the government makes no such concession and

submits that appropriate disclosures have already been made pursuant to Rule 16, or will be

made in other formats, such as disclosure of Jencks materials, the government’s pre-trial

witness list, the government pre-trial memorandum, and the government’s pre-trial exhibit

list. Third, the Hawit decision does not describe the nature of the ongoing investigation in

that case, whereas here this Court has reviewed the search warrant affidavits at issue and,

based upon that review, this Court knows full-well the necessity of protecting the details of


                                                8
      Case 1:19-cr-00227-JLS-MJR Document 225 Filed 12/13/21 Page 9 of 9




the government’s continuing investigation and need to maintain the confidentiality of

witnesses. Fourth, in Hawit, the Court noted that the search warrant applications all related

to the defendant’s personal communication devices and accounts, 2017 WL 3016794, at *3,

whereas here the government has already turned over a redacted copy of the search warrant

affidavit regarding the search of an Apple iPhone seized from defendant Gerace on February

28, 2021. Fifth, unlike Hawit, because the government in this case already made a redacted

disclosure regarding the search of an Apple iPhone seized from defendant Gerace on February

28, 2021, the defendant has already filed a Franks motion and objections directed towards

that search warrant, which motion was denied by Magistrate Judge Roemer (see Docket 201)

and objections were denied by this Court (see Dockets 208, 223). 3 Sixth, there is no trial date

set in this case and therefore discussion of disclosure of any Jencks material is premature.



                                       CONCLUSION

       For the foregoing reasons, the defendants’ motions at Docket 210 and 212 should be

denied in all respects.

       DATED: Buffalo, New York, December 13, 2021.

                                                   TRINI E. ROSS
                                                   United States Attorney


                                            BY:    s/JOSEPH M. TRIPI
                                                   Assistant United States Attorney
                                                   United States Attorney=s Office
                                                   Western District of New York
                                                   138 Delaware Avenue
                                                   Buffalo, New York 14202
                                                   716/843-5839
                                                   Joseph.Tripi@usdoj.gov

3
 This Court’s Decision in Docket 223 had not been filed at the time defendant Gerace, joined
by defendant Bongiovanni, filed the instant motion.


                                               9
